 Case: 4:11-cv-01602-AGF Doc. #: 19 Filed: 11/16/11 Page: 1 of 3 PageID #: 138



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

YVONNE THOMAS,                                     )
                                                   )
                             Plaintiff,            )
                                                   )
       v.                                          )      No. 4:11CV01602 AGF
                                                   )
KINDRED HOSPITAL, JOHN DOE,                        )
Physician; JANE DOE, Nurse; JOHN DOE;              )
JANE DOE; and BARBARA DOE;                         )
                                                   )
                             Defendants.           )


                     MEMORANDUM and ORDER OF REMAND

       This matter is before the Court on Plaintiff’s motion (Doc. No. 9) to remand the

case to state court. Plaintiff, a citizen of Missouri, filed this action pro se on August 9,

2011, in Missouri state court, claiming wrongful death, negligent supervision, and

medical malpractice related to the death of her mother. Plaintiff named as Defendants

Kindred Hospital East, LLC (“Kindred”), a citizen of Delaware and Kentucky; and five

individual “Doe” Defendants whom she claimed were responsible for the decedent’s

medical care at Kindred. Kindred removed the action to this Court on September 15,

2011, based on diversity jurisdiction.

       On September 27, 2011, Plaintiff filed a motion to remand to state court and on

September 28, 2011, Plaintiff filed a motion for leave to amend the complaint to add the

names of the Defendants listed in the original complaint as John Doe, Jane Doe, and

Barbara Doe. Plaintiff asserted that these Defendants defeated complete diversity. In
 Case: 4:11-cv-01602-AGF Doc. #: 19 Filed: 11/16/11 Page: 2 of 3 PageID #: 139



opposition to the motion to remand, Kindred argued that at the time of removal, complete

diversity existed. Kindred did not file a response to Plaintiff’s motion for leave to file an

amended complaint, and by Order dated October 24, 2011, the Court granted that motion

and ordered Kindred to file with the Court the citizenship of the newly named

Defendants, to the extent such information was available to Kindred. The Court stated

that it would then consider Plaintiff’s motion to remand, stating that it would give

Kindred the opportunity to file a supplemental memorandum in response to that motion,

upon request.

       On November 4, 2011, Kindred filed a memorandum indicating that the

individuals identified in Plaintiff’s amended complaint were citizens of Missouri. To

date, Kindred has not filed a request to file a supplemental opposition to Plaintiff’s

motion to remand. In balancing the factors pertinent to the Court’s determination, the

Court notes that the parties who defeat diversity were named as John and Jane Does in

the original complaint, and their identities were not known to Plaintiff, but were known to

Defendant Kindred Hospital. Thus, permitting amendment of the complaint to name

these Defendants continues to be the proper result. The presence of these individuals

destroys diversity. As such, this case is now subject to remand pursuant to 28 U.S.C. §

1447(e). See Bailey v. Bayer CropScience L.P., 563 F.3d 302, 308-09 (8th Cir. 2009);

see also Marshall v. CSX Transp. Co., Inc., 916 F. Supp. 1150, 1152 (M.D. Ala. 1995).

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s motion (Doc. No. 9) to remand the

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 Case: 4:11-cv-01602-AGF Doc. #: 19 Filed: 11/16/11 Page: 3 of 3 PageID #: 140



case to state court is GRANTED. Plaintiff’s request for costs is denied.

       IT IS FURTHER ORDERED that the Clerk’s Office shall remand this case to

the Circuit Court of the City of St. Louis, Missouri, in which it was filed.




                                           AUDREY G. FLEISSIG
                                           UNITED STATES DISTRICT JUDGE

Dated this 16th day of November, 2011




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